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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                   District District
                                               __________   of New ofMexico
                                                                      __________

                  United States of America                       )
                             v.                                  )
                                                                 )      Case No.
                         Juan Aguirre                            )                 MJ 21-1558 BPB
                                                                 )
                                                                 )
                                                                 )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               October 12, 2021               in the county of             Bernalillo       in the
                       District of       New Mexico         , the defendant(s) violated:

            Code Section                                                   Offense Description
18 U.S.C. §§ 922(g)(1), and 924              Prohibited person in possession of a firearm
18 U.S.C. § 2119                             Attempted carjacking
18 U.S.C. § 2119                             Carjacking




         This criminal complaint is based on these facts:
See attached affidavit




         u Continued on the attached sheet.


                                                                                           Complainant’s signature

                                                                                    Elia Viramontes, Special Agent
                                                                                            Printed name and title

Telephonically sworn before me and signed electronically.


Date:             10/18/2021
                                                                                              Judge’s signature

City and state:                  Albuquerque, New Mexico                    B. Paul Briones, United States Magistrate Judge
                                                                                            Printed name and title
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 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

I, Elia Viramontes, Special Agent of the Federal Bureau of Investigation (FBI), having been dully

sworn, state:

1.     I am a Special Agent of the FBI and have been employed since April 2021. I am currently

assigned to the Albuquerque Division, Violent Crimes and Gangs Task Force (VCGTF), which is

a multi-agency task force that investigates armed robbery, kidnapping, carjacking, and firearms-

related crimes. While employed by the FBI, I have gained experience through my training at the

FBI Academy, Quantico, Virginia. I have received training in a variety of investigations and legal

matters, including drafting and executing search and arrest warrants. Prior to becoming an FBI

Special Agent, I was a police officer for six years. During my law enforcement career, I have

arrested hundreds of individuals for crimes ranging from homicide, violations of narcotics laws,

robbery, assault and battery, and other violent crimes.

2.     The information set forth in this affidavit was derived from my own investigation and /or

communicated to me by other employees of the FBI, other law enforcement agencies, and from

records and documents that I, and others, have reviewed and the post arrest statements of the

defendant.

3.     This affidavit is submitted in support of a criminal complaint and arrest warrant charging

Juan AGUIRRE (AGUIRRE) with the following violations:

             a. 18 U.S.C. §§ 922(g)(1), and 924 prohibited person in possession of a firearm,

             b. 18 U.S.C. § 2119 attempted carjacking, and

             c. 18 U.S.C. § 2119 carjacking.

                               PRIOR FELONY CONVICTIONS




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4.     AGUIRRE has multiple felony convictions in the State of New Mexico, to include: (1)

conspiracy to commit robbery, in or about August 2009 (D-202-CR-2009-04235); (2) three counts

of auto burglary, in or about September 2010 (D-202-CR-2010-05544); and (3) conspiracy to

commit Auto Burglary, in or about September 2010 (D-202-CR-2010-05544).

5.     I have observed the plea and disposition agreements in all of these matters which contain

AGUIRRE’s name, date of birth, social security number, and signature. Based upon the signature

on the plea documents and defendant statements, I believe that AGUIRRE was aware of his status

as a convicted felon at the time of the relevant events below.

                                       STOLEN VEHICLE

6.     On October 12, 2021, at approximately 10:15 a.m., Detectives with Albuquerque Police

Department (APD) Gang Unit along with APD Gang Suppression Officers located an occupied

stolen vehicle located at 3433 Vail Ave SE, Albuquerque, NM 87106. The stolen Chevy pickup

had Vehicle Identification Number (VIN) 1GCEC14W91Z314941 and was occupied by a white

male, heavy set, 5’7” – 5’8” tall, with face tattoos, wearing a gray sweatshirt, blue jeans, and white

shoes. The male was the sole occupant of the vehicle. He was identified by APD officers as Juan

AGUIRRE (born in 1991) and taken into custody. During a search incident to arrest, AGUIRRE

was found wearing a holster for a semi-automatic handgun on his waistband. During a recorded

post-Miranda interview with Gang Unit Detectives, AGUIRRE stated the holster was for his

girlfriend’s gun, which he had placed under the driver seat of the vehicle. AGUIRRE stated he

knows he is not supposed to have a gun because he is a convicted felon.

7.     Officer recovered from the vehicle a Kimber Micro 9 9mm semi-automatic pistol, bearing

serial number PB0S71781.




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8.     An FBI Firearms Instructor and Certified Firearms Specialist performed a function check

of the pistol and determined it functions as designed. The firearm meets the federal definition of

a firearm under 18 U.S.C. § 921 and included the frame and receiver. Based on my training,

experience, and research, the recovered firearm was not manufactured in the state of New Mexico

but rather in Troy, Alabama, therefore establishing that the firearm travelled in and affected

interstate commerce before AGUIRRE possessed it.

9.     While in custody for the possession of the stolen vehicle, AGUIRRE became ill and

requested to be transported to the hospital by ambulance. APD officers released AGUIRRE from

police custody to medical personnel to be transported to the hospital for medical treatment.

                                ATTEMPTED CARJACKING

10.    On October 12, 2021, at approximately 12:47 p.m. APD received a call reporting an

attempted carjacking. Ambulance driver, BC, transported AGUIRRE to the hospital after APD

release him due to medical issues. BC walked AGUIRRE into the emergency bay in the hospital,

then returned to the ambulance. While in the ambulance, BC watched AGUIRRE walk out of the

emergency entrance and continued westbound through the parking lot. BC stated AGUIRRE was

wearing a gray sweatshirt and blue jeans, the same clothes he was wearing when BC picked him

up from police custody. AGUIRRE walked up to a black pickup truck that was parked on the

eastside of Longfellow Elementary School. BC stated the driver door of the pickup truck was open

and a male was seating in the driver’s seat. AGUIRRE had his hands in his pockets, and BC could

not tell what he was doing from where he/she was standing. BC was aware that AGUIRRE was

arrested earlier in the morning for being in a stolen vehicle. BC saw AGUIRRE walk from the

driver side of the pickup truck to the passenger side. When he got to the passenger side the pickup

the truck drove away before AGUIRRE could enter the vehicle. BC contacted the driver of the



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pickup truck who advised BC the male subject attempted to steal his vehicle. BC placed the 911

call to APD.

11.    The male victim reported he was working at Longfellow Elementary School located at 400

Edith Blvd. NE, Albuquerque, NM 87102. He was sitting on the driver seat of his black Chevy

pickup truck bearing New Mexico license plate 458WXJ. At approximately 12:32 p.m., a white

male, in his 40s approximately 5’7”- 5’8” tall, 230 – 250 lbs., balding, and wearing a gray

sweatshirt, approached the driver side of the vehicle. The male had his right hand in his pocket

and insinuated he was concealing a gun as he demanded the victim to exit the vehicle and to leave

the keys inside. The victim initially believed the subject had a gun based on the shape of his hand

inside his pocket. However, he refused to exit the vehicle and offered the subject a ride instead.

When the subject walked over to the passenger side of the pickup truck the victim drove off before

the subject could enter the vehicle. During a photo lineup, the male victim positively identified

AGUIRRRE as the offender who attempted to carjack his vehicle.

                                          CARJCAKING

12.    On October 12, 2021, at approximately 12:44 APD officers responded to a carjacking call

at A Child’s Garden Preschool located at 215 Locus St. NE, Albuquerque, NM 87102. The female

victim reported she drove her gold Toyota 4Runner bearing New Mexico license plate GTN360

into the parking lot of A Child’s Garden Preschool. The female victim saw a male 30 – 40 years

old, approximately 5’10” – 6’1” tall, heavy set, face tattoos, and balding, wearing a gray sweatshirt,

walking in the parking lot of the above location. The male walked up to the victim’s driver door;

she believed the subject was getting into the vehicle parked next to her. The female victim exited

her vehicle and before she could close her driver door subject blocked her by standing in the

doorway. The subject demanded the keys to the vehicle. The female victim refused to hand over



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the keys. The subject ripped the car keys from the victim’s hand, he grabbed her by both arms and

forcibly moved her out of the way. The female victim stood behind her vehicle in an attempt to

stop the subject from driving off. The subject shouted to the victim to move out of the way, or he

would run her over. The victim believed the subject would hurt her if she attempted to stop him

from leaving. She moved out of the way and the subject drove away on the gold Toyota 4Runner

westbound on Cooper Ave.         During a photo lineup, female victim provided a tentative

identification of AGUIRRE, as the possible offender in the carjacking of her vehicle.

                                     AGUIRRE’S ARREST

13.    On October 14, 2021, Gang Unit detectives located and arrested Juan AGUIRRE.

AGUIRRE was observed by detectives driving a gold Toyota 4Runner. On a post-Miranda

interview, AGUIRRE stated he left the hospital after he was transported by ambulance. AGUIRRE

admitted to attempting to carjack a male subject who was parked across the street from the hospital.

The subject was in a black pickup truck. After being unsuccessful, AGUIRRE walked to 215

Locust St NE, Albuquerque, New Mexico where he successfully stole a gold Toyota 4Runner from

a female.

                                     INTERSTATE NEXUS

14.    I confirmed the black Chevy pickup truck was manufactured outside of the State of New

Mexico. I also confirmed the Gold Toyota 4Runner was manufactured outside of the State of New

Mexico. I am also aware that Kimber firearms are not manufactured within the state of New

Mexico.

                                         CONCLUSION

15.    Based on the above information, I believe Juan AGUIRRE committed violation 18 U.S.C.

§§ 922(g)(1), and 924, prohibited person in possession of a firearm, 18 U.S.C. § 2119 attempted



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carjacking, and 18 U.S.C. § 2119 carjacking. This criminal complaint was approved by Supervisor

Assistant U.S. Attorney Jack Burkhead of the district of New Mexico.



                                                   Respectfully submitted,




                                                   Elia Viramontes,
                                                   Special Agent
                                                   Federal Bureau of Investigation


ELECTRONICALLY SUBMITTED AND TELEPHONICALLY SWORN TO ME ON

October    18           , 2021.




U.S. Magistrate Judge




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